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       SIKORSKY AIRCRAFT CORPORATION
   8   AND UNITED TECHNOLOGIES CORPORATION
   9                        UNITED STATES DISTRICT COURT
  10
                         SOUTHERN DISTRICT OF CALIFORNIA
  11
  12   D.F., a minor, by and through his            Case No. 13-cv-00331-GPC-KSC
       Guardian Ad Litem, TASHINA
  13
       AMADOR, individually and as successor        Judge: Hon. Gonzalo P. Curiel
  14   in interest to Alexis Fontalvo, deceased,    Magistrate: Hon. Karen S. Crawford
       and T.L., a minor, by and through her
  15   Guardian Ad Litem, TASHINA                   MEMORANDUM OF POINTS AND
  16   AMADOR,                                      AUTHORITIES IN SUPPORT OF
                                                    SIKORSKY’S MOTION IN LIMINE
  17                      Plaintiffs,               NO. 3 - MOTION TO EXCLUDE
       vs.                                          OPINIONS OF PLAINTIFFS’
  18                                                EXPERTS COFFMAN AND
  19   SIKORSKY AIRCRAFT                            BLOOMFIELD, AND TESTIMONY
       CORPORATION, et al.,                         OF DU PONT EXPERT REYNOLDS
  20
  21                      Defendants.               [Filed Concurrently with Notice of
                                                    Motion and Motion; Declaration of
  22                                                Christopher S. Hickey
  23                                                Date:      April 6, 2018
  24                                                Time:      1:30 p.m.
                                                    Courtroom: 2D
  25
  26
  27
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   1                  MEMORANDUM OF POINTS AND AUTHORITIES
   2        Pursuant to Federal Rules of Evidence 401, 402, 403 and 702(b), the following
   3   opinions of Plaintiffs’ wiring expert, Arthur Lee Coffman, and electrical systems
   4   expert, John Bloomfield, must be excluded1, as well as the deposition testimony
   5   designated by Plaintiffs of Joseph Reynolds, an electrical systems expert retained
   6   by former defendant Du Pont de Nemours and Co. (“Du Pont”).
   7        A.      Mr. Coffman’s Manufacturing Compliance Opinion
   8        Mr. Coffman opines in his Rule 26 Report that “the installation of the main
   9   landing gear hydraulic wiring [on the subject aircraft] was non-compliant with
  10   Military Specification Mil-W-5088F section 3.11.7,” at the time the aircraft was
  11   manufactured by Sikorsky, and delivered to the Department of Defense in 1990.
  12   (See Coffman Rule 26 Report, attached as Ex. A to Hickey Decl., at p. 3; see ECF
  13   No. 164-13, Form DD-250.) There is no evidentiary basis for Mr. Coffman’s
  14   opinion in this regard.          On the contrary, the DD-250 form—issued by the
  15   government at the time of delivery—verifies that the aircraft met design criteria,
  16   and that it was manufactured properly. (Leigh Dep., attached as Ex. B to Hickey
  17   Decl., at 70:6-71:25.) No witnesses have contradicted this form by testifying that
  18   the wiring system was not installed properly, nor are there any documents or
  19   photographs evidencing the installation of the wiring at the time the military
  20   inspected and accepted the aircraft.
  21        Mr. Coffman’s opinion is based exclusively on the testimony of Marine Corps
  22   investigator Sergeant Robert Wuthrich regarding the post-accident condition of the
  23   wiring in 2011, 21 years later, at which time Mr. Wuthrich found that the wires
  24   “lacked proper strain relief.” (Ex. A at p. 3.) However, there is uncontroverted
  25   evidence that the subject wiring system was altered in the interim. Of particular
  26
  27   1
         Although the Court considered some of this evidence in the context of Sikorsky’s Daubert
       motion, the Court stated at the October 20, 2017 hearing that it would further consider the
  28   admissibility of these experts’ testimony at the time of trial. (See Transcript of Hearing, attached
       as Ex. F to Hickey Decl., at 29:12-19.)

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   1   significance is a record of maintenance completed on January 17, 2011 (two months
   2   before the accident), which describes the subject wire bundle as a “twisted mess,”
   3   leading to the corrective action of, “properly secured wire bundle in left e-bay lower
   4   shelf as required. Installation checks good IAW 420-000.” (MIL073170, filed
   5   under seal at ECF No. 148, and lodged with the Court at ECF No. 149.)
   6   Additionally, Navy witness Keith Sparks testified that the 70 inches of wire from
   7   the utility module forward had been replaced as part of “Phase 1” of the Navy’s
   8   Kapton program. (Sparks Dep., attached as Ex. C to Hickey Decl., at 56:4-9.) Mr.
   9   Coffman’s foundational assumption that the condition of the wiring system
  10   remained unchanged for 21 years is directly contradicted by this evidence. As a
  11   result, his opinions regarding Sikorsky’s installation of the wiring in 1990 must be
  12   excluded as unreliable under Rule 702(b). See Richter v. Hickman, 578 F.3d 944,
  13   987 (9th Cir. 2009) (“an expert's opinion may not be based on assumptions of fact
  14   without evidentiary support, or on speculative or conjectural factors”) (citation
  15   omitted). Mr. Coffman’s anticipated testimony about wire installation must also be
  16   excluded under Rule 403, as any probative value of this speculative testimony is far
  17   outweighed by the danger that the jury will be misled into believing that installation
  18   of the wires at the time of the accident was identical to Sikorsky’s installation of the
  19   wires 21 years earlier, which is contrary to the actual evidence.
  20        B.    Mr. Coffman’s Opinion re: Condition of the Kapton Wiring
  21        Mr. Coffman further opines, without any explanation, that “[t]he damage to the
  22   Kapton wire in the subject helicopter is consistent with scraping and tearing due to
  23   being removed from the helicopter after the accident.” (See Ex. A at pp. 2-3.) Once
  24   again, his opinion is not supported by any facts or data. There were 367 inches of
  25   Kapton wiring controlling operation of the main landing gear. (ECF No. 164-11,
  26   Wakefield Decl. at ¶ 25, Ex. 20.) Mr. Coffman does not identify the specific
  27   portion(s) of the wire regarding which he opines, either with photographs or a
  28   description. He does not explain how the act of removing wire from the helicopter


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   1   would cause the observed “scraping and tearing,” nor does he consider other
   2   possible causes of the observed damage, such as maintenance performed on the
   3   very wire bundle at issue, as discussed above. Mr. Coffman admits he was not
   4   present when the wire was removed, and he has not pointed to any evidence from
   5   those present in support of his opinion. As a result, Mr. Coffman’s speculative
   6   statement regarding the cause of damage to unspecified portions of the Kapton wire
   7   is a classic ipse dixit, and must be excluded under Rule 702(b) as unreliable. See
   8   Guidroz–Brault v. Mo. Pac. R. Co., 254 F.3d 825, 830-31 (9th Cir. 2001)
   9   (excluding expert testimony “not sufficiently founded on the facts” of the case).
  10       Furthermore, because Mr. Coffman did not identify the specific Kapton wire
  11   damage that he attributes to removal from the aircraft, he should not be permitted to
  12   now offer photographs and detailed explanations of specific points of damage to a
  13   jury at trial. Fed. R. Civ. P. 37(c)(1); (ECF No. 216 (“MSJ Order”) at 38: “[t]o the
  14   extent that Coffman has withheld any material opinions, Sikorsky is correct that
  15   they should be excluded,” under FRCP 37(c)(1).) Without such demonstration, Mr.
  16   Coffman’s bare statement about unspecified damage is of very slight probative
  17   value, and is far outweighed by the danger that the jury will be confused or misled
  18   into believing that all damage to the 367 inches of Kapton wiring was caused by
  19   removal from the aircraft, for which there is no evidence.         As a result, Mr.
  20   Coffman’s testimony must also be excluded as unfairly prejudicial under Rule 403.
  21       C.     Mr. Coffman’s Opinion re: “Intermittent” Electrical Signal
  22       Mr. Coffman further opines in his Rule 26 report that electrical arcing “would
  23   have created intermittent unpredictable electrical signal” to the main landing gear
  24   retraction system, “creating a situation in which the main landing gear down lock
  25   pin could be removed with no resistance, as it should be, one moment, then causing
  26   the pin to become difficult if not impossible to remove the next moment.” (Ex. A at
  27   p. 3.) This opinion, too, is not supported by any facts or data. Mr. Coffman does
  28   not cite any evidence of an “intermittent” pattern as he describes, nor does he


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   1   identify a source for information that any such pattern existed. Indeed, no witnesses
   2   to the events and no documents identify an occurrence, much less a pattern, where
   3   the landing gear safety pin became stuck “one moment,” and loosened the next.
   4   Additionally, Mr. Coffman provides no explanation for how the electrical signal
   5   could have become “intermittent” and “unpredictable,” as he claims. Mr. Coffman
   6   has essentially invented a fact, which he then relies upon to form his opinions. This
   7   is entirely unreliable, and will only serve to confuse and mislead the jury on the
   8   evidence, resulting in unfair prejudice to Sikorsky. It should therefore be excluded
   9   under Rules 702(b) and 403. See Richter v. Hickman, 578 F.3d 944, 987 (9th Cir.
  10   2009) (“an expert's opinion may not be based on assumptions of fact without
  11   evidentiary support, or on speculative or conjectural factors” (citations omitted)).
  12       This testimony is also irrelevant because Plaintiffs do not dispute that Sgt.
  13   Fontalvo “had trouble removing the safety pin,” “tried again to forcibly remove the
  14   stuck safety pin,” and ultimately “forced the safety pin out.” (ECF No. 173-1 at pp.
  15   2-3.) Because the pin was undisputedly stuck at the time Sgt. Fontalvo forced it
  16   out, whether the signal was intermittent (for which there is no evidence) is
  17   immaterial and such evidence must be excluded under Rules 401 and 402.
  18       D.     Mr. Bloomfield’s Opinion re: Source of Energy to the “Up” Wire
  19       Mr. Bloomfield opines that the uncommanded landing gear retraction was
  20   caused by energy inadvertently transferring from an energized Spec-55 “down
  21   wire” (which commands the landing gear to lower) to the Spec-55 “up wire” (which
  22   commands the landing gear to retract), due to matching spots of bare wire on those
  23   specific Spec-55 down and up wires coming into contact. (Bloomfield Dep.,
  24   attached as Ex. D to Hickey Decl., at 114:25-116:9.) However, Mr. Bloomfield has
  25   no evidentiary basis for this opinion. There is no evidence that these up and down
  26   wires were touching, or even capable of touching, at the time of the accident, and
  27   the assumption that they were is nothing more than speculation to support Mr.
  28   Bloomfield’s hypothesis. Mr. Bloomfield cannot identify a degraded spot on the


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   1   down wire that matches up with a degraded spot on the up wire (id. at 133:15-
   2   134:5)—as is necessary to support his theory that voltage passed between the two—
   3   and admits that no one has identified such a spot. (Id. at 138:16-22.) As this Court
   4   stated in its MSJ Order, “[n]o one who investigated the accident was able to
   5   determine the exact source of the energy” to the up wire. (ECF No. 216 at 33.)
   6       Additionally, Mr. Bloomfield’s theory is premised on the idea that the down
   7   wire was itself energized at the time of the accident, for which there is no evidence.
   8   When asked why he believes it was energized, he answered “because that’s the only
   9   place that the 494 up wire could have gotten 28 volts.” (Bloomfield Dep. at 141:15-
  10   21.) However, he then admitted that he does not know what other wires were
  11   bundled with the up wire, and therefore cannot reliably narrow the source of energy
  12   to any one wire. (Id. at 152:6-15.) Moreover, Mr. Bloomfield was forced to
  13   acknowledge that a component called the cam limit switch shuts off energy to the
  14   down wire when the aircraft is on the ground, as it was here. (Id. at 147:3-13.) Mr.
  15   Bloomfield’s theory is therefore only viable if the cam limit switch did not function
  16   as designed, and yet he cannot point to any evidence of a malfunction, nor was any
  17   such malfunction mentioned in his Rule 26 report. (Id. at 147:14-17, 149:5-8.)
  18   Instead, Mr. Bloomfield merely speculates that, “we could have a limit switch – a
  19   cam limit switch that wasn’t perfectly adjusted,” for no other reason than the simple
  20   fact that his entire theory of causation depends upon it. (See id. at 147:22-23.)
  21       Because Mr. Bloomfield’s speculative opinion about how the “up” wire
  22   became energized is not supported by sufficient facts or evidence, it is unreliable
  23   and inadmissible under Rule 702(b). See Guidroz–Brault v. Mo. Pac. R. Co., 254
  24   F.3d 825, 830-31 (9th Cir. 2001) (excluding expert testimony that “was not
  25   sufficiently founded on the facts” of the case). The parties do not disagree that
  26   errant electricity, from an unknown source, energized the “up” wire and caused the
  27   landing gear to retract, and Sikorsky is not attempting to prevent Mr. Bloomfield
  28   from so testifying. However, he should not be permitted to tell the jury that a


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   1   specific section of a specific wire (Spec-55 “down” wire) was the source of that
   2   energy, when there is no evidence to support his theory. Nor should Plaintiffs be
   3   able to rely upon this speculative “expert” testimony to meet their burden of proof
   4   on causation. Admission of Mr. Bloomfield’s testimony will only serve to confuse
   5   and mislead the jury regarding the actual evidence of what caused the landing gear
   6   to retract, and it must therefore also be excluded under Rule 403.
   7        E.      Mr. Bloomfield’s Alternative Design Opinions
   8        Mr.     Bloomfield       also    proposes      several     alternative     “theories”     or
   9   “philosophies”—his own words—regarding the design of the Electric Wiring
  10   Interconnect System (EWIS) and other components. (Bloomfield Rule 26 Report,
  11   attached as Ex. E to Hickey Decl., at ¶¶ 22-25.) However, his proposals are so
  12   theoretical in nature that Sikorsky is not able to test or evaluate them for feasibility,
  13   rendering them unreliable and inadmissible under Rule 702. See Eisenbise v. Crown
  14   Equipment Corp., 260 F.Supp.3d 1250, 1259 (S.D. Cal. 2017) (“[T]he reliability of
  15   an expert’s theory turns on whether it ‘can be tested’” (internal citations omitted.))
  16   Because Mr. Bloomfield has refused to provide sufficient information regarding his
  17   ideas for them to be understood, tested or analyzed for feasibility, his testimony
  18   must be excluded under Rule 403 as unfairly prejudicial.2 See Eisenbise, 260
  19   F.Supp.3d at 1259-60 (allowing alternative design opinion of the plaintiff’s expert,
  20   where the theory was capable of being tested but the defendant chose not to test it).
  21                1.     Redundant Wiring
  22        Mr. Bloomfield’s first proposal is to install parallel redundant wires for each
  23   function of the landing gear system, and require both wires to agree before a
  24   particular system is activated. (Ex. E at ¶ 22.) He admitted at his deposition that
  25   “I'm not redesigning anything…. The design is the design. I'm making this thing
  26
  27
       2
         Mr. Bloomfield submitted a declaration in opposition to Sikorsky’s Daubert Motion, in which
  28   he describes his alternative proposals in general terms. (ECF No. 168-13.) This declaration is not
       a supplemental Rule 26 report, and therefore has no evidentiary value in this case.

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   1   safer. I'm not designing an alternative design.” (Bloomfield Dep. at 176:14-19.)
   2   Referring to his idea as an “alternative philosophy,” he admitted that he “wasn’t
   3   designing a system,” and had not fully thought through all of the components that
   4   the system would need to function properly with redundant wires. (Id. at 176:2-8.)
   5   Mr. Bloomfield refused to draw a schematic of his proposed “philosophy” during
   6   his deposition. (Id. at 168:16-169:5.) Although he espouses that this design is used
   7   in “dozen[s] of aircraft systems from all aircraft manufacturers,” he was unable to
   8   identify any aircraft manufacturer who uses redundant wires to actuate the landing
   9   gear system, stating “I didn’t research that.” (Id. at 167:10-12, 167:24-168:4.)
  10       Furthermore, Mr. Bloomfield has not explained how redundant wires would fit
  11   into the existing system of electrical safety interlocks.          Without a clear
  12   understanding of how Mr. Bloomfield proposes to redesign the existing system, his
  13   theory is incapable of being tested. As a result, his philosophical and speculative
  14   alternative design opinion must be excluded as unreliable under Rule 702, and as
  15   irrelevant and unfairly prejudicial under Rules 402 and 403.
  16              2.     Hydraulic Utility Module
  17       Mr. Bloomfield also proposes to redesign the hydraulic utility module with the
  18   “up” and “down” control valves on opposite sides of the module, and with the “up”
  19   and “down” wires physically separated into different wire bundles. (Ex. E at ¶ 23.)
  20   Again, Mr. Bloomfield referred to this idea as a “theory” and a “philosophy more
  21   than a detail.”   (Bloomfield Dep. at 191:9-15.)       He could not explain at his
  22   deposition how the utility module is currently designed, nor could he give a precise
  23   description of how he would redesign it:
  24       Q: So you’re assuming that the connectors are currently on the same side of the
              mechanism … correct?
  25
           A: Correct
  26       Q: Okay. So you believe from other pictures that they’re on the same side of
              the mechanism, correct?
  27       A: I think so. And if they are, they shouldn’t be … is what I’m saying.
  28       …


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   1   (Id. at 189:9-190:18.) Mr. Bloomfield’s inability to provide any concrete
   2   specifications regarding his proposal makes it impossible for Sikorsky to determine
   3   whether it is feasible. As a result, his testimony in this regard is unreliable, and
   4   should be excluded under Rule 702. Mr. Bloomfield’s speculative and unreliable
   5   “theory” regarding a redesign of the hydraulic utility module must also be excluded
   6   as irrelevant, confusing and unfairly prejudicial under Rules 401, 402 and 403.
   7              3.     Radio (or Radar) Altimeter
   8        Mr. Bloomfield next proposes use of the radio altimeter as yet another safety
   9   interlock to prevent uncommand retraction of the main landing gear, by measuring
  10   the distance of the aircraft from the ground. (Ex. E at ¶ 24.) Again, Mr. Bloomfield
  11   has provided no specifics regarding the actual change he proposes, and testified
  12   only in vague terms about the design—which he again referred to as a
  13   “philosophy.” (Bloomfield Dep. at 198:19-206:3.) He explained the theory of how
  14   a Radio Altimeter might break an electrical circuit based on distance from the
  15   ground, but when asked what additional components would be required to
  16   implement this, he responded that “a piece of wire, a comparator and relay” are the
  17   basic building blocks, but “there may be another little piece here, another little piece
  18   there … this is an alternative philosophy that will work because they’re already
  19   using it. Maybe I need a transistor here. I don’t know yet." (Id. at 203:17-204:20.)
  20   This testimony clearly shows that Mr. Bloomfield has only a flimsy grasp of his
  21   own untested concept.       Furthermore, he again did not provide a diagram or
  22   schematic of a proposed altered radio altimeter in his report, and he refused to
  23   sketch out the design theory at his deposition. (Id. at 208:22-209:15.) As with his
  24   other ideas, Sikorsky is not able to test this design or evaluate its feasibility without
  25   more information than Mr. Bloomfield is willing or able to provide. As a result, his
  26   testimony in this regard should be excluded as unreliable under Rule 702, and as
  27   irrelevant and unfairly prejudicial under Rules 402 and 403.
  28


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  1              4.     Tool to Extract Landing Gear Pin
  2       The last idea proposed by Mr. Bloomfield is not a change to the design of the
  3   wiring system or the aircraft, but rather a separate tool or device that he claims can
  4   be used to extract a resistant landing gear safety pin without standing under the
  5   aircraft. (Ex. E at ¶ 25.) However, the safety pin provides an important mechanical
  6   interlock, whose main purpose is to prevent uncommanded retraction of the landing
  7   gear. If it is stuck, it should not be pulled out—by hand or with a tool—but instead
  8   the aircraft should be sent to maintenance to determine the problem.              Mr.
  9   Bloomfield’s proposal that Sikorsky should have provided a tool to bypass its own
 10   safety device borders on the absurd.
 11       Furthermore, once again, Mr. Bloomfield’s proposed “tool” for removing a
 12   landing gear safety pin is nothing more than a figment of his imagination, which
 13   lacks any indicia of reliability and should be excluded under Rule 702.           Mr.
 14   Bloomfield has not produced a diagram or a prototype to demonstrate that his
 15   invention would actually be able to pull out a landing gear safety pin, whether stuck
 16   or unstuck, nor can his theory be tested without concrete information about the
 17   proposed design. Furthermore, while Mr. Bloomfield touts his “experience” with
 18   safety pins as a basis for his design, he is entirely unfamiliar with the CH-53E
 19   landing gear safety pin mechanism. He testified that he has never pulled a safety
 20   pin from a CH-53E landing gear, and has only witnessed such a pin being pulled
 21   one time, during an inspection for this litigation. (Bloomfield Dep. at 219:24-220:7
 22   and 221:10-14.)
 23       In sum, Mr. Bloomfield’s design change opinions are nothing more than vague
 24   notions that should not be presented to the jury. Mr. Bloomfield is unable, or
 25   unwilling, to provided sufficient information for his ideas to be tested or evaluated
 26   by Sikorsky for feasibility. Consequently, his fanciful “theories” or “philosophies”
 27   must be excluded as unreliable under Rule 702, and as irrelevant and unfairly
 28   prejudicial under Rules 402 and 403.


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  1        F.     Joseph Reynolds
  2        Before being dismissed from the case, defendant Du Pont designated Joseph
  3   Reynolds as an electrical systems expert. Mr. Reynolds was not designated as an
  4   expert by Plaintiffs, who instead designated John Bloomfield as their electrical
  5   systems expert.     However, Plaintiffs now seek to present the majority of Mr.
  6   Reynold’s deposition testimony (approximately 214 pages of his 278-page
  7   transcript) to the jury at trial, in addition to presenting the live testimony of Mr.
  8   Bloomfield.     By doing so, they propose to present two electrical engineering
  9   experts, who practice in the same specialty, reviewed the same evidence, and will
 10   offer opinions on the same substantive issues. Regardless of whether their opinions
 11   are consistent, this overlapping expert testimony is needlessly cumulative, and will
 12   only result in a waste of time and unfair prejudice to Sikorsky. Under Rule 403,
 13   Plaintiffs should only be permitted to present the testimony of one electrical
 14   systems expert, not two. Sikorsky therefore requests an order in limine precluding
 15   the presentation of Mr. Reynolds’ deposition testimony at trial.3
 16        G.     Conclusion
 17        For the foregoing reasons, Sikorsky respectfully requests that this Court grant
 18   its Motion in Limine No. 3 to exclude the speculative and unreliable opinions of
 19   Plaintiffs’ experts under Rules 402, 403 and 702, and to exclude the testimony of
 20   Mr. Reynolds as needlessly cumulative, a waste of time, and unfairly prejudicial
 21   under Rule 403.
 22   Dated: March 23, 2018                     FITZPATRICK & HUNT,
 23                                             PAGANO, AUBERT, LLP

 24                                         By: /s Christopher S. Hickey
 25                                            James W. Hunt
                                               Christopher S. Hickey
 26                                            Attorneys for Defendants
 27
 28   3
        Sikorsky reserved the right to object to specific testimony from this witness on evidentiary
      grounds prior to its presentation to the jury, should the Court deny this motion.

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